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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 CORPORATIVO GRUPO R SA de C.V.,                        §
                                                        §
                                 Plaintiff,             §   CIVIL ACTION NO. H-19-1963
                                                        §
                v.                                      §
                                                        §
 MARFIELD LIMITED INCORPORATED, and                     §
 SHANARA MARITIME INTERNATIONAL,                        §
 S.A.,                                                  §
                                                        §
                                 Defendants             §

            INTERVENOR-PLAINTIFFS’ REPLY TO DEFENDANTS’ OBJECTION
               TO STIPULATION TO APPORTION CUSTODIA LEGIS COSTS

        Intervenor-Plaintiffs, Caterpillar Financial Services Asia Pte Ltd (“Caterpillar”);

Eksportfinans ASA (“Eksportfinans”); the Norwegian Government, represented by the Norwegian

Ministry of Trade and Industry and Eksportkreditt Norge AS (collectively “Norway”); and KFW

IPEX-Bank GmbH (“KFW”) (collectively “Intervenor-Plaintiffs”) reply to Defendants’ Objection

To Stipulation to Apportion Custodia Legis Costs (Dkt. 39) as follows:

I.      BACKGROUND

        1.      At the initial pretrial and scheduling conference held on September 20, 2019, the

Court received oral argument from the parties regarding the Intervenor-Plaintiffs’ Motion to

Intervene, Motion Authorizing Process Of Arrest Warrant, and Motion To Appoint Substitute

Custodian (the “Motions”). The Court stated that it was inclined to grant Intervenor-Plaintiffs’

pending Motions for judicial economy purposes. Those Motions remain pending before the Court.

        2.      In anticipation of the Court’s granting of the Motions, Intervenor-Plaintiffs and

plaintiff, Corporativo Grupo R SA de CV (“Grupo R”), entered into a Stipulation (Dkt. 35) that

would shift the custodial costs going forward on a pro rata basis; however, the Stipulation is only


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effective upon the Court’s granting of the pending Motions. Further, ultimate resolution of the

amount and responsibility of custodia legis expenses will be decided by the Court and, as noted

by Defendants, deducted from any judicially ordered sale.

        3.     Defendants Marfield Ltd. Inc. and Shanara Maritime International, S.A.

(“Defendants”) filed an Objection to the Stipulation (Dkt. 39) on October 8, 2019. Defendants

contend that a marine survey is not a true custodia legis expense and that Intervenor-Plaintiffs

cannot incur custodia legis expenses because the Court has not yet granted Intervenor-Plaintiffs’

Motion to Intervene.

II.     LAW AND ARGUMENT

        A.     Courts Routinely Allow Intervenors To Contemporaneously Move to Arrest
               And To Share In Custodia Legis Expenses.

        4.     As more fully set forth in Intervenor-Plaintiffs’ Reply to Defendants’ Objection to

Motion authorizing Process of Arrest Warrant and Motion to Appoint Substitute Custodian (Dkt.

38), claimants routinely file their motions to intervene, verified complaints, and motions seeking

process of arrest warrant concurrently, and courts have issued rulings addressing all such relief

sought in a single order. See Berry Contr., LP v. M/V Aries Swan, C-08-312, 2008 U.S. Dist.

LEXIS 82215 *3-4 (S.D. Tex. 10/16/08); Iafeta v. M/V Stella Maris, 10-20740, 2010 U.S. Dist.

LEXIS 95754 (S.D. Fla. 8/31/10).

        5.     A district court may condition an intervenor’s intervention in an admiralty action

based upon a sharing of custodia legis expenses. Berry Contr., LP, Slip Op. at p. 2, citing

Beauregard Inc. v. Sword Servs. L.L.C., 107 F. 3d 351, 352 (5th Cir. 1997). Custodia legis

expenses are defined as expenses incurred “when a vessel is in the custody of the law, having been

seized by the Marshal.” United States v. One (1) 254 Ft. Freighter, the M/VAndoria, 570 F. Supp.

413, 416 (E.D. La. 1983) (internal citations omitted).


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        6.     “It is a well-established tenet of admiralty law that the arresting plaintiff and the

intervening plaintiffs share in the costs of maintaining the res until resolution of the case.

Lubricantes Venoco Int’l v. M/V Neveris, 60 Fed. Appx. 835, 842 (1st Cir. 2003) (citing

Beauregard Inc. v. Sword Servs. L.L.C. , 107 F. 3d 351, 353 (5th Cir. 1997)); See also D.D. Forsht

Assocs., Inc. v. Transamerica ICS, Inc., 821 F. 2d 1556, 1562 (11th Cir. 1987) (“We find it

inconceivable that by being the first party to arrest the vessels, and thereby being the party to

arrange for a substitute custodian, Transamerica should become wholly liable for the

administrative expense of maintaining the vessels.”)

        7. By entering into the Stipulation, Intervenor-Plaintiffs shows their commitment to paying

their fair share of the custodia legis expenses once the intervention is granted.

        8.    The legitimacy, amount and apportionment of the custodia legis costs are, of course,

subject to final court approval. Gulf Copper & Mfg. Corp. v. M/V Lewek Express, 2019 U.S. Dist.

LEXIS 9754929 (S.D. Tx. June 11, 2019); Adams Offshore, Ltd. v. Con-Dive, LLC, 2011 U.S. Dist.

LEXIS 53154 (S.D. Al. May 17, 2011).

        9.     Intervenor-Plaintiffs and Grupo R’s Stipulation (Dkt. 35) on custodia legis costs

does not require court action. Moreover, any request for payment or reimbursement of custodia

legis costs are subject to approval from the Court.

        B. Survey Expenses Are Recoverable As Custodia Legis Expenses

        10. While there is no need for the Court to decide this issue at this time, marine surveys

have been found to be reimbursable as a custodia legis expense. Turner v. Neptune Towing &

Recovery, Inc., 2011 U.S. Dist. LEXIS 108882 (M.D. Fl. Sept. 21, 2011), Slip Op. at p. 11- 12

(Table 3).




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III.    CONCLUSION

        11. For the reasons set forth above, Defendants’ request to strike Grupo R and Intervenor-

Plaintiffs’ Stipulation should be denied.


        Respectfully submitted, this 15th day of October, 2019.

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                                             represented by the Norwegian Ministry of Trade
                                             and Industry and Eksportkreditt Norge AS, and
                                             KFW IPEX-Bank GmbH


                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of the above and foregoing pleading has been served on
                                                                                            th
all counsel of record by delivering a copy of same via the Court’s CM/ECF System, this 15 day

of October, 2019.

                                             /s/ Adam C. McNeil
                                             Adam C. McNeil
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